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                                   1                    IN THE UNITED STATES DISTRICT COURT

                                   2                  FOR THE NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4   MICHAEL F. DORMAN, individually          Case No. 17-cv-00285-CW
                                       as a participant in the SCHWAB
                                   5   PLAN RETIREMENT SAVINGS AND
                                       INVESTMENT PLAN and on behalf            ORDER ON DEFENDANTS’ MOTION
                                   6   of a class of all those                  TO COMPEL ARBITRATION,
                                       similarly situated,                      DISMISS, AND TO STAY CLAIMS
                                   7                                            AND DEFENDANTS’
                                                  Plaintiff,                    ADMINISTRATIVE MOTION TO SEAL
                                   8
                                             v.
                                   9                                            (Dkt. Nos. 70, 71)
                                       CHARLES SCHWAB & CO. INC.;
  United States District Court
Northern District of California




                                  10   CHARLES SCHWAB & CO INC.;
                                       SCHWAB RETIREMENT PLAN
                                  11   SERVICES INC.; CHARLES SCHWAB
                                       BANK; CHARLES SCHWAB
                                  12   INVESTMENT MANAGEMENT, INC.;
                                       JOHN DOES 1-50; and XYZ
                                  13   CORPORATIONS 1-5,
                                  14              Defendants.

                                  15

                                  16
                                            In this putative class action ERISA case, Defendants Charles
                                  17
                                       Schwab Corporation, Charles Schwab & Co Inc., Schwab Retirement
                                  18
                                       Plan Services Inc., Charles Schwab Bank, Charles Schwab
                                  19
                                       Investment Management, Inc., Walter W. Bettinger III, Charles R.
                                  20
                                       Schwab, Joseph R. Martinetto, Martha Tuma, Jay Allen, Dave
                                  21
                                       Callahan, John C. Clark, John Does 1-50, and XYZ Corporations 1-5
                                  22
                                       move to compel individual arbitration of Plaintiff Michael F.
                                  23
                                       Dorman’s claims against Defendants and to stay or dismiss this
                                  24
                                       action while the arbitration is pending.        Alternatively,
                                  25
                                       Defendants move to stay this action pending a ruling by the
                                  26
                                       Supreme Court in Morris v. Ernst & Young, LLP, 834 F.3d 975 (9th
                                  27
                                       Cir. 2016), cert. granted, 137 S. Ct. 809 (2017).         Plaintiff
                                  28
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                                   1   filed an opposition to this motion and Defendants filed a reply.

                                   2   On November 14, 2017, the Court held a hearing on Defendants’

                                   3   motion.   Upon considering the papers and the arguments of

                                   4   counsel, the Court DENIES Defendants’ motion.

                                   5                              FACTUAL BACKGROUND
                                   6        Unless otherwise noted, the factual background is from the

                                   7   allegations of the First Amended Complaint.        See Docket No. 56.

                                   8        The Charles Schwab Corporation (Charles Schwab) and its

                                   9   subsidiaries, Charles Schwab & Co. Inc. and Charles Schwab Bank
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                                  10   (the Schwab entities), provide a wide range of financial

                                  11   services, including wealth management, securities brokerage,

                                  12   banking, money management, custody, and financial advisory

                                  13   services.   Schwab News Release July 2017, available at

                                  14   https://aboutschwab.com/images/uploads/inline/schwab_q2_2017_earn

                                  15   ings_release.pdf.    Walter W. Bettinger III, Charles R. Schwab,

                                  16   and Joseph R. Martinetto are members of the Board of Directors of

                                  17   Charles Schwab.    Martha Tuma, Jay Allen, Dave Callahan and John

                                  18   C. Clark are members of the Employee Benefits Administrative

                                  19   Committee at Charles Schwab.

                                  20        The SchwabPlan Retirement Savings and Investment Plan

                                  21   (SchwabPlan or the Plan) is a defined contribution, individual

                                  22   account plan sponsored and administered by Charles Schwab.

                                  23   Eligible employees of the Schwab entities may participate by

                                  24   contributing a portion of their wages to their account and

                                  25   receive matching employer contributions, as well as any

                                  26   investment returns, less any applicable fees.         Participants in

                                  27   the Plan may choose to invest their contributions (and the

                                  28   matching employer contributions) in one or more investment
                                                                            2
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                                   1   options made available by the Plan.        Declaration of Holly Morgan

                                   2   (Morgan Decl.) ¶¶ 3-5, Ex. 1.

                                   3        Since 2009, the Plan has offered several investment options

                                   4   that were managed by Charles Schwab, including the Schwab S&P 500

                                   5   Index Fund, seven Schwab mutual funds, ten Schwab “target date”

                                   6   funds, a Schwab money market fund, and a deposit account in the

                                   7   Schwab Bank.   Dorman alleges that these Schwab-affiliated funds

                                   8   charged higher fees and performed more poorly than other

                                   9   investment options on the market.        Dorman contends that the
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                                  10   Schwab entities violated their fiduciary duties to the Plan in

                                  11   offering these Schwab-affiliated funds without “meaningful

                                  12   investigation” into whether they were prudent investments and

                                  13   whether there were better options available.

                                  14         Dorman was employed at Charles Schwab & Co., Inc. for six

                                  15   years, until he left the company on October 8, 2015.          Id. ¶ 7.

                                  16   On February 23, 2009, shortly after starting his employment, he

                                  17   completed a Uniform Application for Securities Industry

                                  18   Registration or Transfer (Form U-4), which is required for all

                                  19   registered representatives under the Financial Industry

                                  20   Regulatory Authority (FINRA) rules.        Id. ¶ 8, Ex. 3.    Form U-4

                                  21   contains a provision stating:

                                  22        I agree to arbitrate any dispute, claim or controversy
                                            that may arise between me and my firm, or a customer,
                                  23        or any other person, that is required to be arbitrated
                                            under the rules, constitutions, or by-laws of the SROs
                                  24        indicated in Section 4 (SRO REGISTRATION) as may be
                                            amended from time to time and that any arbitration
                                  25        award rendered against me may be entered as a judgment
                                            in any court of competent jurisdiction.
                                  26
                                            On December 19, 2014, Dorman electronically signed an
                                  27
                                       Acknowledgment of the Schwab Investor Financial Consultant
                                  28
                                                                            3
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                                   1   Compensation Plan (Compensation Plan Acknowledgment).             Id. ¶ 9,

                                   2   Ex. 4.   The Compensation Plan describes the compensation

                                   3   structure of a financial consultant (FC) like Dorman.             The

                                   4   Acknowledgment contains a section entitled “11.0 Arbitration of

                                   5   Disputes.”   This section states:

                                   6        11.1 Any controversy, dispute, or claim arising out of
                                            or relating to the FC’s employment or the termination
                                   7        of employment shall be resolved by binding
                                            arbitration . . .
                                   8
                                            [ . . . ]
                                   9
                                            11.3 This Agreement does not apply to . . . claims for
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                                  10        benefits under any ERISA-governed benefit plan(s),
                                            which shall be resolved pursuant to the claims
                                  11        procedures under such benefit plans.
                                  12        [ . . . ]
                                  13        11.5 Any claims or disputes between the FC and the
                                            Company shall be brought solely on an individual basis.
                                  14        The FC and the Company agree to waive the right to
                                            commence, be a party to, or be an actual or putative
                                  15        class member of any class, collective, or
                                            representative action arising out of or relating to the
                                  16        FC employment or termination of employment. If this
                                            waiver is found to be unenforceable by a civil court of
                                  17        competent jurisdiction, then any claim on a class,
                                            collective, or representative basis shall be filed and
                                  18        adjudicated in a court of competent jurisdiction, and
                                            not in arbitration.
                                  19
                                       Id. at 9.
                                  20
                                            While Dorman was employed at Charles Schwab, he participated
                                  21
                                       in the Plan.     Id. ¶¶ 9-10.   On December 18, 2015, after Dorman
                                  22
                                       left his employment with Schwab, he received a full distribution
                                  23
                                       of his account balance and ceased his participation in the Plan.
                                  24
                                       Id. ¶ 12.
                                  25
                                            A version of the Plan Document that was restated and amended
                                  26
                                       as of January 1, 2016 and executed on June 13, 2016 provides:
                                  27
                                            15.11 Arbitration of Disputes
                                  28             (a) Any claim, dispute or breach arising out of or
                                                                            4
                                         Case 4:17-cv-00285-CW Document 79 Filed 01/18/18 Page 5 of 14



                                                 in any way related to the Plan shall be settled by
                                   1             binding arbitration . . .
                                   2   Id., Ex. 1 at 56.

                                   3        On January 19, 2017, Dorman filed the present litigation.

                                   4   He brings claims on behalf of the Plan pursuant to ERISA

                                   5   § 502(a)(2) to recover losses resulting from Defendants’

                                   6   fiduciary breaches and prohibited transactions and pursuant to

                                   7   ERISA § 502(a)(3) to recover injunctive and other equitable

                                   8   relief.

                                   9                                LEGAL STANDARD
  United States District Court
Northern District of California




                                  10        The Federal Arbitration Act (FAA) provides that any

                                  11   agreement within its scope “shall be valid, irrevocable, and

                                  12   enforceable, save upon such grounds as exist at law or in equity

                                  13   for the revocation of any contract.”        9 U.S.C. § 2.     The FAA

                                  14   represents a “liberal federal policy favoring arbitration

                                  15   agreement, notwithstanding any state substantive or procedural

                                  16   policies to the contrary.”     Moses H. Cone Mem’l Hosp. v. Mercury

                                  17   Constr. Corp., 460 U.S. 1, 24 (1983).         A party to a valid

                                  18   arbitration agreement may petition a federal district court “for

                                  19   an order directing that such arbitration proceed in the manner

                                  20   provided for in such agreement.”         9 U.S.C. § 4.    In considering a

                                  21   motion to compel arbitration, a court should consider “whether a

                                  22   valid arbitration agreement exists” and “whether the agreement

                                  23   encompasses the dispute at issue.”         Lifescan, Inc. v. Premier

                                  24   Diabetic Servs., Inc., 363 F.3d 1010, 1012 (9th Cir. 2004).             If

                                  25   so, the court should enforce the agreement.         Id.

                                  26        A court has the power to stay proceedings, which arises from

                                  27   its inherent power “to control the disposition of the causes on

                                  28   its docket with economy of time and effort for itself, for
                                                                            5
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                                   1   counsel, and for litigants.”         Landis v. North Am. Co., 299 U.S.

                                   2   248, 254 (1936).       "A stay is not a matter of right, even if

                                   3   irreparable injury might otherwise result."           Nken v. Holder, 556

                                   4   U.S. 418, 433 (2009).

                                   5           Instead, a stay is "an exercise of judicial discretion," and

                                   6   "the propriety of its issue is dependent upon the circumstances

                                   7   of the particular case."        Id. (citation and internal quotation

                                   8   and alteration marks omitted).         The party seeking a stay bears

                                   9   the burden of justifying the exercise of that discretion.            Id.
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                                  10   In determining whether to grant a stay, courts generally consider

                                  11   the following competing interests: “the possible damage which may

                                  12   result from the granting of a stay, the hardship or inequity

                                  13   which a party may suffer in being required to go forward, and the

                                  14   orderly course of justice measured in terms of the simplifying or

                                  15   complicating of issues, proof, and questions of law which could

                                  16   be expected to result from a stay.”          Lockyer v. Mirant Corp., 398

                                  17   F.3d 1098, 1110 (9th Cir. 2005) (citation omitted).

                                  18                                      DISCUSSION
                                  19   I.      Motion to Compel Arbitration
                                  20           A.   Applicability of various arbitration agreements to
                                                    Dorman’s claims
                                  21
                                               Defendants contend that the Plan Document, Form U-4, and the
                                  22
                                       Compensation Plan Acknowledgment are valid agreements that
                                  23
                                       require arbitration under the FAA.
                                  24
                                                    1.    Plan Document
                                  25
                                               Defendants argue that the Plan Document binds Dorman.         But
                                  26
                                       the Plan Document provided by Defendants was dated January 1,
                                  27
                                       2016 and executed on June 13, 2016, over a year after Dorman
                                  28
                                                                               6
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                                   1   terminated his participation in the Plan on December 18, 2015.1

                                   2   See Morgan Decl., Ex. 1 at 2, 90.        The Plan Document issued a

                                   3   year after Dorman ceased participation in the Plan cannot apply

                                   4   to his claims.    To hold otherwise would be inequitable because it

                                   5   would allow a plan defendant to amend the plan documents

                                   6   unilaterally at any time, even after a participant has brought

                                   7   suit against the defendant, and put the participant at a

                                   8   disadvantage.

                                   9        Defendants provide no authority supporting their contention
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                                  10   that a plan document executed after the participant has ceased

                                  11   participation in the plan can bind the participant to

                                  12   arbitration.     For example, in Chappel v. Lab. Corp. of Am., the

                                  13   Ninth Circuit enforced the plan’s mandatory arbitration clause

                                  14   even though the plaintiff “had not previously known about the

                                  15   clause.”   232 F.3d 719, 723 (9th Cir. 2000).       But there is no

                                  16   indication that the plan’s mandatory arbitration clause was

                                  17   enacted after the plaintiff ceased all participation in the plan.

                                  18   See id.    The remaining cases cited by Defendants are similarly

                                  19   unavailing because, in each case, the plan document was in effect

                                  20   while the plaintiff participated in the plan.         See Smith v. Aegon

                                  21   Companies Pension Plan, 769 F.3d 922, 931 (6th Cir. 2014) (venue

                                  22   selection amendment enacted in 2007 applied to plaintiff’s claim

                                  23   because plaintiff continued to receive plan payments through

                                  24   2011); Marin v. Xerox Corp., 935 F. Supp. 2d 943, 945 (N.D. Cal.

                                  25   2013) (plan document in effect at the time defendant denied

                                  26
                                  27        1
                                              Defendants did not provide any other version of the Plan
                                       Document.
                                  28
                                                                            7
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                                   1   plaintiff’s claim controlled); Laasko v. Xerox Corp., 566 F.

                                   2   Supp. 2d 1018, 1022 (C.D. Cal. 2008) (same).        The Plan Document

                                   3   therefore does not bind Dorman.

                                   4             2.    Form U-4
                                   5         Defendants argue that Form U-4’s arbitration provision

                                   6   encompasses Dorman’s claims because the provision covers “any

                                   7   dispute, claim or controversy” between Dorman and Schwab.

                                   8   Defendants read this provision out of context.         The provision

                                   9   actually states:
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                                  10         I agree to arbitrate any dispute, claim or controversy
                                             that may arise between me and my firm, or a customer,
                                  11         or any other person, that is required to be arbitrated
                                             under the rules, constitutions, or by-laws of the SROs
                                  12         indicated in Section 4 (SRO REGISTRATION) . . .
                                  13   Morgan Decl., Ex. 3 at 12 ¶ 5.      The arbitration provision does

                                  14   not apply to any dispute between Dorman and Schwab, but only

                                  15   those that are “required to be arbitrated under the rules,

                                  16   constitutions, or by-laws of the SROS indicated in Section 4.”

                                  17   Id.   Section 4 of Form U-4 lists a number of SROs, or self-

                                  18   regulatory organizations such as FINRA, but mentions nothing

                                  19   whatsoever about the Plan.     Id. at 2-4.     Defendants fail to

                                  20   explain adequately why the language of this provision encompasses

                                  21   Dorman’s claims.

                                  22             3.    Compensation Plan Acknowledgment
                                  23         The Compensation Plan Acknowledgment arbitration and class

                                  24   action provisions are limited to claims “arising out of or

                                  25   relating to the [financial consultant’s] employment or the

                                  26   termination of employment.”      Morgan Decl., Ex. 4 §§ 11.1, 11.5.

                                  27   While Defendants contend that Dorman’s breach of fiduciary duty

                                  28   claims are ones “arising out of or relating to [his] employment
                                                                            8
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                                   1   or termination of employment,” it is not clear that Defendants

                                   2   are correct.    Defendants themselves contend elsewhere that ERISA

                                   3   claims are not ordinarily viewed as “work-related legal claims.”

                                   4   Motion at 18.     Moreover, the arbitration provision contains an

                                   5   exception for “claims for benefits under any ERISA-governed

                                   6   employee benefit plan(s),” which are to be resolved according to

                                   7   the “claims procedures under such benefit plans.”         Id. § 11.3.

                                   8   Dorman’s claims, which arise not under the Compensation Plan but

                                   9   under the SchwabPlan, are therefore governed by the claims
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                                  10   procedures of the SchwabPlan.

                                  11        Because the arbitration provisions cited by Defendants do

                                  12   not encompass Dorman’s claims, they do not require him to submit

                                  13   his claims to arbitration.

                                  14        B.      Bowles v. Reade
                                  15        Even if the arbitration provisions cited by Defendants

                                  16   encompassed Dorman’s claims, the provisions could not be

                                  17   enforced.    Dorman brings his claims pursuant to §§ 502(a)(2) and

                                  18   502(a)(3) “on behalf of the plan.”       He cannot waive rights that

                                  19   belong to the Plan, such as the right to file this action in

                                  20   court.

                                  21        The Court recently resolved this question in a similar case,

                                  22   Cryer v. Franklin Templeton Res., Inc., 2017 WL 4410103 (N.D.

                                  23   Cal. Oct. 4, 2017).     There, a release and class action waiver

                                  24   signed by the plaintiff could not be enforced against the

                                  25   plaintiff’s § 502(a)(2) claims brought on behalf of the plan.

                                  26   Id. at *3.    Relying on Bowles v. Reade, 198 F.3d 752 (9th Cir.

                                  27   1999), the Court explained that “a plan participant cannot

                                  28   settle, without the plan's consent, a § 502(a)(2) breach of
                                                                            9
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                                   1   fiduciary duty claim seeking ‘a return to [the plan] and all

                                   2   participants of all losses incurred and any profits gained from

                                   3   the alleged breach of fiduciary duty.’”       Id. (quoting Bowles, 198

                                   4   F.3d at 760).    See also In re Schering Plough Corp. ERISA Litig.,

                                   5   589 F.3d 585, 594 (3d Cir. 2009) (“The vast majority of courts

                                   6   have concluded that an individual release has no effect on an

                                   7   individual's ability to bring a claim on behalf of an ERISA plan

                                   8   under § 502(a)(2).”).    By the same token, a participant bringing

                                   9   a § 502(a)(2) claim also cannot release the right to file in
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                                  10   court or the right to file a class action on behalf of a plan,

                                  11   which also belong to the plan.      Cryer, 2017 WL 4410103, at *4

                                  12   (quoting Munro v. Univ. of S. California, 2017 WL 1654075, at *5

                                  13   (C.D. Cal. Mar. 23, 2017)) (“Just as a participant suing on

                                  14   behalf of a plan under § 502(a)(2) cannot waive a plan's right to

                                  15   pursue claims, a participant cannot waive a plan's right to file

                                  16   its claims in court.”).    The Court therefore concluded that the

                                  17   release and class action waiver could not be enforced against the

                                  18   plaintiff’s claims brought in a representative capacity on behalf

                                  19   of the plan.    Id.

                                  20        Here, too, enforcement of the arbitration and class action

                                  21   provisions would violate the principles set forth in Bowles v.

                                  22   Reade.   Dorman brings §§ 502(a)(2) and 502(a)(3) claims seeking

                                  23   to restore losses incurred by the Plan.       See Docket No. 56 at 35

                                  24   (Amended Complaint).    As a result, he cannot release the right to

                                  25   file a claim in court or the right to file a class action, both

                                  26   of which belong to the Plan.

                                  27        Defendants argue that the Court’s reasoning in Cryer does

                                  28   not apply to this case because the Plan agreed to arbitration by
                                                                           10
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                                   1   virtue of its Plan Document’s arbitration provision.         See Plan

                                   2   Document § 18.1 (board of directors of the Plan Sponsor reserves

                                   3   the right to . . . adopt any amendment or modification thereto”).

                                   4   But the Court has already concluded that the Plan Document does

                                   5   not bind Dorman because it was executed after he ceased all

                                   6   participation in the Plan.

                                   7        Additionally, the Plan Document was executed unilaterally by

                                   8   the plan sponsor, Charles Schwab.        See Reply at 8; Morgan Decl.,

                                   9   Ex. 1 at § 18.1(a).    A plan document drafted by fiduciaries--the
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Northern District of California




                                  10   very people whose actions have been called into question by the

                                  11   lawsuit--should not prevent plan participants and beneficiaries

                                  12   from vindicating their rights in court.       See Johnson v.

                                  13   Couturier, 572 F.3d 1067, 1080 (9th Cir. 2009) (citing ERISA

                                  14   § 410(a) and holding that “if an ERISA fiduciary writes words in

                                  15   an instrument exonerating itself of fiduciary responsibility, the

                                  16   words, even if agreed upon, are generally without effect”).

                                  17   Otherwise, “fiduciaries would essentially never be held to

                                  18   account for their potential wrongdoing in court” and they would

                                  19   receive “many procedural advantages at the outset of any

                                  20   § 502(a)(2) action that they would not be entitled to in a court

                                  21   proceeding.”     Munro, 2017 WL 1654075, at *6.     “Indeed[,] allowing

                                  22   such arbitration agreements to control participants’ § 502(a)(2)

                                  23   claims would, in a sense, be allowing the fox to guard the

                                  24   henhouse.”    Id.

                                  25        C.      Morris v. Ernst & Young, LLP
                                  26        Because the Court has already found that the arbitration

                                  27   provisions either do not apply to Dorman’s claims or are

                                  28   unenforceable against them pursuant to Bowles, the Court need not
                                                                           11
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                                   1   consider the parties’ arguments on whether Morris applies to

                                   2   Dorman’s claims.     Nevertheless, in the interest of completeness,

                                   3   the Court briefly addresses the parties’ arguments.

                                   4         Morris holds that class action waivers are unenforceable

                                   5   under the NLRA when they are required by the employer as a

                                   6   condition of employment.     Morris, 834 F.3d at 980-83.      Thus,

                                   7   Morris would appear to bar any provisions requiring individual

                                   8   arbitration of Dorman’s claims that Dorman signed as a condition

                                   9   of his employment.    Although Defendants contend that the Court
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Northern District of California




                                  10   should not apply Morris in this case because the Supreme Court

                                  11   has granted certiorari, Morris remains good law and must be

                                  12   applied until the Supreme Court decides otherwise.         See, e.g.,

                                  13   United States v. Joey, 974 F.2d 1344 (9th Cir. 1992) (“Although

                                  14   the Supreme Court has granted certiorari in [the case forming the

                                  15   basis for affirmance], we are bound by our prior decision until

                                  16   the Court decides otherwise.”).

                                  17         In sum, the arbitration provisions cited by Defendants (Plan

                                  18   Document, Form U-4, and Compensation Plan Acknowledgment) are not

                                  19   enforceable against Dorman’s claims for three independent

                                  20   reasons: (1) they do not bind Dorman or their scope does not

                                  21   encompass Dorman’s claims, (2) Bowles v. Reade bars their

                                  22   enforcement, and (3) Morris v. Ernst & Young, LLP and the NLRA

                                  23   bar their enforcement.     Accordingly, Defendants’ motion to compel

                                  24   arbitration must be denied.

                                  25   II.   Motion to Stay Pending Decision in Morris
                                  26         Because the Court’s denial of Defendants’ motion to compel

                                  27   arbitration does not rely on Morris, Defendants have not

                                  28   established the need for a stay pending the Supreme Court’s
                                                                           12
                                        Case 4:17-cv-00285-CW Document 79 Filed 01/18/18 Page 13 of 14




                                   1   decision in the same case.     Defendants have not shown that they

                                   2   will suffer any harm absent a stay, nor have they shown that any

                                   3   issues of law or proof will be simplified if the case is stayed

                                   4   pending a decision in Morris.     On the other hand, Dorman has a

                                   5   right to timely adjudication of his claims.        Defendants’ request

                                   6   to stay the case is denied.

                                   7   III. Administrative Motion to Seal
                                   8        Defendants seek to seal redacted portions of the

                                   9   Compensation Plan Acknowledgment filed in support of their motion
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                                  10   to compel arbitration or stay the case.       In considering sealing

                                  11   requests, “a strong presumption in favor of access is the

                                  12   starting point.”   Kamakana v. City & Cty. of Honolulu, 447 F.3d

                                  13   1172, 1178 (9th Cir. 2006)(internal quotation marks omitted).

                                  14   Parties seeking to seal documents relating to dispositive motions

                                  15   bear the burden of articulating “compelling reasons supported by

                                  16   specific factual findings that outweigh the general history of

                                  17   access and the public policies favoring disclosure, such as the

                                  18   public interest in understanding the judicial process.”           Id. at

                                  19   1178-79 (internal quotation marks and citation omitted).

                                  20   Defendants filed a declaration pursuant to Civil Local Rule 79-

                                  21   5(d) stating that the redacted portions of the Compensation Plan

                                  22   Acknowledgment contain Charles Schwab’s proprietary compensation

                                  23   formulas and strategic business goals.       Disclosure of

                                  24   compensation information might cause Defendants competitive harm.

                                  25   Because Defendants have narrowly tailored their request to

                                  26   include only sealable information, this request is granted.

                                  27

                                  28
                                                                           13
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                                                                      CONCLUSION
                                   1
                                            The Court DENIES Defendants’ motion to compel arbitration,
                                   2
                                       to dismiss, and to stay claims (Docket No. 70).        The Court GRANTS
                                   3
                                       Defendants’ administrative motion to seal (Docket No. 71).
                                   4
                                            IT IS SO ORDERED.
                                   5

                                   6
                                       Dated: January 18, 2018
                                   7                                            CLAUDIA WILKEN
                                                                                United States District Judge
                                   8

                                   9
  United States District Court
Northern District of California




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